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                                                 AFFIDAVIT OF SERVICE

 State of Florida                                               County of                                   United States Southern District
                                                                                                                                    Court

 Case Number: 22-CV-60112-RNS

 Plaintiff:
 Isaaca Thorpe
 vs.
 Defendant:
 ARS Account Resolution Services

 For:
 Credit Repairs Lawyers of America
 sec@crlam.com
 22142 W Nine Mile Road
 Southfield, MI 48033

 Received by All Broward Process Corp on the 22nd day of February, 2022 at 1:52 pm to be served on ARS Account
 Resolution Services c/o C T Corporation System, 1200 South Pine Island Rd, Plantation, FL 33324.

 I, Francisco X. Carreras, being duly sworn, depose and say that on the 23rd day of February, 2022 at 1:45 pm, I:

 served a REGISTERED AGENT by delivering a true copy of the SUMMONS IN A CIVIL ACTION, CIVIL COVER
 SHEET, and COMPLAINT with the date and hour of service endorsed thereon by me, to: Donna Moch as
 Registered Agent at the address of: 1200 South Pine Island Rd, Plantation, FL 33324 on behalf of ARS Account
 Resolution Services, and informed said person of the contents therein, in compliance with state statutes.

 Description of Person Served: Age: 55+, Sex: F, Race/Skin Color: White, Height: 5'5", Weight: 140, Hair: Brown,
 Glasses: N

 I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process Server, in
 good standing, in the judicial circuit in which the process was served. Under penalty of perjury I declare I have read
 the foregoing Return of Service and that the facts stated are true. Notary not required pursuant to F.S. 92.525(2).
 Electronically signed in accordance with FSS 48.21(1).




                                                                              Francisco X. Carreras
 Subscribed and Sworn to before me on the _____ day                           #582
 of _______________, _______ by the affiant who is
 personally known to me or appeared by means of                               All Broward Process Corp
 physical presence or online notarization.                                    701 N Fig Tree Lane
                                                                              Plantation, FL 33317
 ____________________________                                                 (954) 214-5194
 NOTARY PUBLIC
                                                                              Our Job Serial Number: BPC-2022000642


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